      Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 1 of 71


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            Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 11 of 71




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        Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 25 of 71

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               Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 27 of 71


                                From: x.,,,6791008 Page: 1/8 Date: 1/18/2016 11:43:10'
  Date: 1/1 6/201 6 Time: 41:39 PH To: Wu, Johnny LSD O. 18606791005                                                   Peasant P: 1/8


                 University of Connecticut Health Center
                 Sleep Disorders Center
                 Farmington Connecticut 06030
                 PolysoranogrEfihy Results and interpretation

 Name: James Griffin

 Unit Number: T01278113
 Admission Number: 12331599
 Sex:
 Date of Birth: 12/1811979
 Age: 36
 Haight: 5-04
 Weight: 225
 B.M.I.: 38.6
 Date Of Study: 01/13/2016
 Study Type: PSG


 Clinical History

 This patient was 36, and was referred by Dr. Johnny Wu for possible obstructive sleep apnea. Symptoms
 Included snoring and excessive daytime sleepiness. On our standard questionnaire he had a normal
 Epworth sleepiness score of 6. Other problems included obesity and refractory hypertension.

 Medications: He reported taking unspecified antihypertenslves at the time of this study.

 This study was requested as a split night polysomnogram, with an initial diagnostic period followed by
 further recording with continuous positive airway pressure (CPAP) as therapy for obstructive sleep apnea
 and to identify an optimum pressure setting. However, the patient did not show sufficient apnea to meet our
 laboratory's standard for split night studies, with only 29 respiratory events in the first 2 hours, so CPAP was
 not used.

 He reported sleeping 4 hours the night prior to the study, ending at 0500, and taking no naps that day. He
 estimated his sleep latency on the study night as "a while", and thought he had slept 2 hours, awakening 6
 times.. He recalled no dreaming. He awoke with no physical complaints feeling "okay' and "rested". Overall
 he rated his sleep as worse than his usual sleep at home.

 Potysomnography: was attended by a technologist and included recording of eeg, ecg, eye movement, chin
 muscle emg, airflow, chest movement, abdominal movement, oximetry and bilateral tibial emg. The patient
 is observed with a low light level video camera and microphone. The study was scored following American
 Academy of Sleep Medicine criteria by a registered polysomnography technologist, with scoring reviewed
 and the study interpreted by me.

 Sloop Data

 James Griffin slept 203.00 minutes out of 395.8 Minutes In bed for a sleep efficiency of 51.3%. The sleep
 latency was 63.6 minutes. Stage N1 sleep was 30.3%. Stage N2 sleep was 36.9%. Stage N3 sleep was
 27:3%. There were 3 REM sleep periods: Stage R sleep was 5.4%41.0 mins. The Stage R latency (from
 sleep onset) was 191.0 minutes. 27.3% of the total sleep time was spent In the supine position. A total of


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                                  From: 860 679 1008     Page: 2/8        Date: 1/18/2016 11:43:10 .
 Date: 1/16/2016 Time: 4:39 PM To: WU, Johnny MD                     e.   18606791008                                 Persent P: 2/8


               University of Connecticut Health Center
               Sleep Disorders Center
               Farmington Connecticut 06030
               Pelysotimogrephy Results and Interpretation

171 arousals were observed during the analysis period. There Were 112 arousals related to respiratory
events with an Index of 33.1 arousals/hour, There were 53 Spontanequs arousals noted with an index of
15,7 arousals/hour. There were 3 PLM arousals noted with an index of 0.9 arousals/hour. The arousal index
was 100.2 arousals/hour. The awakening Index was 10,9 awakenings/hour. There were 129.20 minutes of
wake after sleep onset.

The sleep latency on the study night was greatly prolonged. The number of awakenings was severely
increased. The number of arousals within sleep was severely Increased. The overall sleep efficiency was
severely reduced, even when sleep efficiency only after sleep ohset was considered alone, The amount of
stage 1 sleep was greatly increased. Stage .2 sleep was reduced, Slow wave stage 3 sleep was high normal
for age, The latency to the appearance of REM sleep was moderately prolonged and the total amount of
REM sleep was severely reduced.

Respiratory Data

The overall apnea-hypopnea Index was 12.7 events/hr. The REM index was 64.5 events/hr. The NREM
Index was 10,3 events/hr. The supine index was events/hr in a duration of 56 minutes. The left Index was
events/hr in a duration of 60 minutes. The prone'Index was events/.hr in a demean of 0 minutes. The right
Index was events/hr In a duration of 88 minutes, The upright AH1 was events/hr in a duration of 0 minutes,
The obstructive apnea Index was 2.7 events/hr. There were 9.obstructive apneas with a mean duration of
17.1 seconds. There were 33 obstructive hypopneas with a mean duration of 16.9 seconds. There was, 1
mixed apnea with a mean duration of 17.0 seconds. There were 81 respiratory effort-related arousals
resulting in a' RERA index of 23.9 events/hr. The respiratory disturbance Index, -which unlike the apnea-
hypopnea Index includes RERAs, was 38.7 events/hr. Mean saturation was 95.9%. There was a nadir
saturation in non-REM sleep of 90,0%•and In REM sleep of 93,0%. Patient was.at or below 88% of oximetry
for 0.1% of the study time. Patient was below 80% of oximetry for 0.0% of the study time. The lowest
saturation was 90.0%.

There were frequent respiratory event' on this study. These events included substantial numbers of
obstructive hypopneas, where a partial-obstruction causes reduced airfiowaccompanied by an oxygen
desaturation of 3% or more or an arousal and respiratory effort related arousals, where-a partial obstruction
causes increased respiratory effort and an arousal without an oxygen denaturation. There were also smaller
numbers of full obstructive apneas and a single mixed apnea. The apnea hypophea Index- for the night as a
whole was mildly elevated. The respiratory disturbance Index, which Includes respiratory effort related
arousals, was severely elevated. The degree of oxygen desaturation associated with apneas and_
hypopneas on thIs.study was mild. Most of the night was in a lateral lying position with a smaller amount of
fully supine sleep. Respiratory events were seen at a severe level in all positions. Respiratory events were
more common In association with REM sleep. Mild to moderate snoring was noted on this study.

Cardiac Data

Mean heart rate was 53.2 bpm. Heart rate ranged from 39.0 bpm to 69.0 bpm.

The patient was in a sinus rhythm on this study. There were occasional premature- atrial beats, some with
associated pauses, but otherwise no serious cardiac arrhythrnlas were noted. There was moderate heart


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              Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 29 of 71


                              From: 860 679 1008 Page: 3/8 Date:1/18/2016 11:43:11'.
  Date: 1/16 / 2016 Time: 4:39 Pt{ To: Wu, John:.ly MD 8.18606791008                                                 Persart P: 3 / 8


                 University of Connecticut Health Center
                 Sleep Disorders Center
                 Farmington Connecticut 05030
                 PoIlan rruidg rap hy Rasa RD and Interpretation

 rate variability seen, in association with respiratory events and arousals.

 Movement Statistics

 No significant movement disorder was identified on this study, No seizure activity was observed. Muscle
 tone was appropriately reduced during REM sleep.

 Impressions

 The study shows severe obstructive sleep apnea. Sleep on.this study is severely fragmented, with
 increased awakenings an arousals g vIng a re uced sleep efficiency, increased "light" stage 1 sleep, and
 reduced REM sleep. The fragmentation of sleep seen. here Is consistent with a complaint of nonrestorative
 sleep and daytime sleepiness. However, as this patient may illustrate, individual susceptibility to sleepiness
 can differ greatly as can the Way In which individuals express their sleepiness. The.degree of oxygen
 desaturation associated with a • near: and hypopneas on this stud was mild. The study did not show a
 useful pose onal effect on apnea fraquency. 1o ser oUS car• lac arrhythmlas were noted. No otherspecific
 abnormality of sleep was seen.

 Severe Obstructive Sleep Apnea Syndrome G47.33



 Recommendations

 Enforcement of a non supine sleep position using mechanical means can be an effective therapy for some
 patients, particularly those with milder disease and thinner patients, This study suggest positioning would
 not be helpful for this patient; and In general positioning is not an adequate therapy for obstructive sleep
 apnea of this severity.

 In obese patients, weight loss can be helpful, but even with a physician supervised diet it Is successful in
 less than 25% of patients, and may take months to reach a weight adequate to see a response.

For most patients with apnea of this severity, or where conservative measures have not been helpful or are
not available, therapy choices Include oral appliances that move the jaw forward, surgery such as
uvulopaiatopharyngoplasty, and nasal continuous positive airway pressure (CPAP).

 Oral appliances are effective in less than 1/3 of patients, and may cause jaw disComfort.

Surgery is effective in about 1/2 of patients, but carries surgical risks. If surgery is used as therapy,
polysomnography should be repeated to deMonstrate effective control of the obstructive apnea. Surge!),
may Improve snoring In 90% of patients,'and leave a significant fraction of patients quiet but still having
apnea.

CPAP can control apnea In more than 90% of patient, but calls for compliance on the part of patients, and
requires repeat polysomnography to demonstrate effectiveness and determine the optimal CPAP pressure,


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Date: 1/16/2016 Time: 4 :39 PM To: Wu, Johnny MD e. 18606791008                                                    Pereant P: 4/8


               University of Connecticut Health Center
               Sleep Disorders Canter
               Farmington Connecticut 06030
               Polysornnogrophy Results mud Interpretation

or use of an autotitrating CPAP device in the home setting. Compliance measured 1 year later may be as
low as 70%. Patients on CPAP require good support and education to ensure compliance.

Please let us know if we can help with further care for this patient

Referred By:
Wu, Johnny MD
263 Farmington Ave
Farmington, CT 06030-5386
Phone: (860) 679-6760
Fax: (860) 679-1008



This document was digitally signed originally by McNally, Daniel MD on 01/16/2016 at 04:36:44 PM




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                  Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 31 of 71


                                   From: 860 679 1008 Page: 5/8 Date: 1/18/2016 11:43:11
     Date: 1/16/2 01 6 Time: 4:99 PH To: Wu, Johnny MD C, 18606791008                                                        Peasant P: 5/8


             Patient Name: Griffin, James                                                   Study Date: 1/13/2016
             Location: UCON-JDH

                             NOT VALID DATA UKESS ACCOMPANIED BY PHYSICIAN'S INTERPRETATION


                                                ADULT PSG SHORT SCORE REPORT
           Patient Name; Griffin, James
           Sex:             Male                                 Study Dade:                 1/13/2016
           Et :61.:       n2(18/1979                             Subject a'ods:              UCON-JDH
         rAge:              36                                   Referring Physician:        Wu, Johnny MD                             NA   PT

           Height:          64,-0 fa-                            Sleep Specialist:           McNitly, Daniel MD
           Weighr: -        225.0 Ibi'                           - ecoraig TeCiii            White, Rlofil-rd gP3SOT
          TSTVTLF           38.6                                 Saiiiiii Tech:              TINA SNOOK RPSGT RST



                                                  ................. .        . ..
             Lights out clock time (hr.m111):                       11;21:38 PM     SleeP Stage N1 ( (U1)               30:3%
             Lights on clock time (hr, min):                          5:57:27 AM    Sleep Stage N2 (P3:T)               36.9%
                                                                                    Sleep Stage N3 (T91)                27.3%
             Total Recording Time (FRT., In min.):                      395.8       Sleep Stage REM (TS1)                5.4%
             Sleep Period Time (6P1)*:                                5:8215
             Total Steep Time (TSP. In min,):                           203.0       REM Periods:        •                    a
             Sleep Efficiency:                                         51,3%        REM Latently*:                     3:11:00
                                                                                    RM Latenoy (less• Wake time):      2:2290
             Sleep latency (SL):                                      1:03:34       *limo formats are in his:min:sec
             Total Stage Changes (after sleep):                           118
             Awakenings (after sleep onset):                               37
             WASOlmln.):                                                129.2
             *Time formats are in hrs:mInseo

                                                                                                  Respiratory EventVdloes
                                                                                                     Quick Reference.
                                                                                                              AHI 12.7
                                                                                                                                 .14


                                                                                                            REM AHI 54,5

                         Body Position Summary                                                           NREM AHI. 10,3
                                                                                                                 Rpi 36.7
             Body Position              % Total Sleep Time
                 Supine                           27.3%
                 Prone                               0.0% •
                  Left                            29.3%
                 Right                            43.3%

                Upright                              0.0%




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                           From: 860 679 1008 Page: 6/8 Date: 1/18/2016 11:43:11.
Date: 1/16/2016 Time: 4;39 PM T4::: Wu, Johnny M0 e 18606791008                                                                             Remnant P: 6/8


         Patient Name: Griffin, James                                                           Study Date: 1/13/2015
         Looetion: LICON-JDH

                             NOT VALID DATA UNLBSS ACCOMPANIED BY PHYSICIAN'S INTERPRETATION
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     EVL34T$
      .   . *                                       Akuna,r: Apne,:tE                                 Arnto4,;  ••
    Count                      0         9         1        33          51         10                                   124            43
    Mean Duration (seo.):     N/A      17.1      17,0      16,9        15.8       17.0                                  16,1          17.0
     Longest Event (sec.):    N/A      23.9      17,0     23.3         28.4       23.9                                  26,4          23.9
    REM Count                  0         3                  7           2           3                                    12            10
    Non•REM Count              0         6         1        26          79          7                                   112            33
    REM Index                 0.0      16.4       0.0     38,2         10.9       16.4                                  65.5          54.5
    Non,REM Index             0.0       1.9       0,3      8,1         24,7        2.2                                  35.0          10,3
    Index (events / hr).      0.0       2,7       0,3      9,8         23.9        3.0                                  36,7          12.7
    ;4Note; Does notoontain Cheyne Stokes breathing, Hypoventilation, or Periodic Breathing,



                                                      REM&Siii
                                                           i Ina AI-II               40.0




                                     Duration (hrs:min:sec):                055:30                    2:27:30
                                     Obstructive Apneas:                4        4.3             5          2.0
                                     Central. Apneas:                   0         0,0            0          0.0
                                     Wad Apneas:                        1         1.1            0          .0.0

                                     Hypopneas:                        22         23.8          11          4.5
                                     RERit3;                           23         24.9          58          23.6
                                     Total":                    50       54,1       74      30.1
                                      Note; Does not contain Cheyne Stokes Breathing, Hypo-
                                     ventilation, or Periodic Eireathing,


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                                                    ?dsp..      Re:sp... •• Spont.Iiii:ovc;
                    J?Ii9USAt             •         Cotint      1110X       • " COunt` .          .                   ;;Cuunt • ittais, "
                    Total Sleep Time;      112         33.1           63            15.7                               168,        49.7
                    Non-REM            . 102           31.9           62            16.3                               157         49,1
                    REM                     10         54,5           1              5,5                                11         60.0
                    * EEG Arousal activity notessoplated with Respiratocior ELJ events,



            • • E.4T$ i.:.••••••
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                             , • ..001•4!.....      ;id&
    Total Sleep Time;                 3              0,9           8           2.4              11              3.3            0          0.0
    NREM                              3              0.9           7           2.2              10'             3.1            0          0,0
    17m:                              0              0.0                       5.5                              5,5                       0.0




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                            From: 860 679 1008 Page: 7/8 Date: V18/2016 11:43:1k
Date: 1/16 /2016 Time: 4:39 Pfd TO: Wu, Johnny HID e, 18606791008                                                                      Persant PI 1/8


        Patient Name: Griffin, James                                           Study Date: 1/13/2016
        Location: UCON-)DH
                    NOT VALID DATA LIMPS ACCOMPAYLED BY PHYSICIAN'S INTERPARTATION
                             ii•iro#0 115E      AralrevenT                    401'rv,-;„            ifiaux, •
                             Total Sleep Time:                                64                    18.9
                             Wake (after sleep Onset):                        0                       0.0
                             Non-REM;                                         58                    18.1
                             REM;                                             6                     32.7

              oxsYgim                               ke                                                 1ST                   TIS
              Max. Sp02%; •                     100.0        99.0                  98.0                99.0                 100.0
              Mean Sp02%;                        96.9        95,9                  95.6                95,9                  98.4
              Mln, Sp02%;                        85.0        90.0                  93.0                90.0                  85,0
              Sp02% <= 88% (min.)                0,1         0.0                   0,0                  0,0                  0.1
                                                     %Titre in range
              92 -100%:                         78.2%      922%                64,4%                  90.7%                 84.6%
              80-91%:                           0.3%        0.4%               0.0%                    0:3%                  0.3%
              70 - 79%;                         0.0%        0.0%               0.0%                    0,0%                  0.0%
              eo - 69%;                         0.0%        0.0%               0,0%                   0,0%                   0.0%
              50-59%;                            0.0%         0,0%              0.0%                   0.0%                 0.0%
              < 50%:                             0.0%         0,0%              00%                    0.0%                 0.0%
              % Artifact / Bad Data:            21.5%         7.4%             35.6%                  9,0%       ...... Mil._


            HEART RAW RE.51)1,TS          *ition-nfkiY4-                      REtaticIMITS                      4-fg.MMiLi
            Max, HR (bpm):                    78,0          69.0              66,0                     69,0                  78.0
            Mean HR (bpm);                    54:7          52.9              59.4                     53,2                  53.8
            Mln, HR (bpm);                    40.0          39.0              53.0                     39.0                  39.0
                                                                                                                                    ,,, , ,

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          CAM/AC E,Ve,                                         "complex                                                                       •
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                                                                                          (4.
                                                                                                .
          Count;                                               0                      0                   0             0       0
          Sho rb3st Event (m ec);    N/A     N/A     N/A      N/A                    N/A                 N/A          N/A      NIA
          Longest Event (m in:seo):  N/A     NIA     NIA      N/A                    N/A                 N/A           NIA     N/A
          sum Duration (Mire:sec): 0:00:00 0:00:00 0:00:00 0:00:00                 0:00:00             0:00:00       0:00:00 0:00:00
          Absolute Max Rate (bpm): N/A       N/A     N/A      N/A                    N/A                 N/A           N/A     N/A
                                                                                                                               NIA
          Absolute Min. Rate.(bpm):  N/A     N/A     N/A      N/A                    N/A                 NIA           N/A



            OXyge Titration Chart                                                     4.11.1000

            Treatment                  TIME            4XIMEYRY        RESPIRATORY
            Level           11B        REM Non-REM Max    Mkt Mesh. A+ H    All  RD{ AHI
            (cm, H20)             (hrs:mlnise,o)  Sp02% Sp02% 8p02% ToTAL Resp.




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                           From; 860 679 1008 Page: 8/8                                      Date; 1/18/201611:43:1:...,.1
Date: 1/16/2016 Time: 4 :39 Pti To: Wu, Johnny MD                                      5..   18606791008                                                   persazt. P: 8/8



           Patient Name; Griffin,          James                                                    Study Date; 1/13/2018
           Location: UCON-JDH

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   Hypnog ram
   Wake
   [11
     2
     EM
                  11:21 PM           12:18 AM          1;14 Am            2:11 AM                3;07 AM                 4:04 AM             6:00 AM            5;57 AM

   Respiratory Events

                                                                                                              ill           I I, 1
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                  11:21 PM          12;18 AM          1:14 AM            2:11 AM                3:07 AM               4;04 AM           6:00 AM               5:57 AM

   SpOrro
                  100                           r4--i-tosrvine•pielwrre                                                                      A--A.A0-...pookewo.fral
                   90
                   80 -
                   70
                   60
                   60                    1
                  11:21 PM           12:18 AM          1:14AM             2:11 AM                3:07AM                  4;04 AM             5;00 AM            5:57 AM

    Body Position
  Supine

  kVA,
                  11:21 PM          12:14 AM           1:14 AM            2:11AM                 3:07 AM                 4:04AM              6;00AM             5:57 AM

  Limb Movement Events


     104      _geei
      1 tirks
     PL
                                       I                I
                 1121 PM            T2:15 AM         1:14 AM            2;11 AM              3:07 AM            4:04 AM              5:00 AM               't67:AM



  Arousals
                                                                 •
  gpatzreous Anal                                  11         111    w I I 1 111111 111111 II                    I      I 1 II  II 11111          I
  Respridaty Arang                                111111 11r 11111111111111      I I II 11 1                         11111111 11118111 III
  PU4 Aroma                                                                           I   1
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                       Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 36 of 71


           -                                    Inmate Request Form                                                               CN 9601
                                        Connecticut Department of Correction                                                   REV 1/31/09
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Facility/Unit: Garner CI                                        Hk,using unit: Alpha Cell:            a.0 9      Date: Cf - ci - I

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Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 37 of 71




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                                           Inmate Request Form                                            CN 9601
                                     Connecticut Department of Correction                              REV 1/31/09

Inmate name:J(01-6allijrV                                                       Inmate number: 2   if 5-39 /
Facility/Unit: Garner CI                              Housing unit: Alpha r!‘11: 20 9     Date: 9-217 ..l y
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Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 41 of 71




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                    I                                   Inmate Request Form                                                           ON 9601
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                   Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 52 of 71


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                                                Connecticut Department of Correction                                                REV 1/31/09

 Inmate name:                   644-6               :   ,'-i' fir;re                                  Inmate number:

 Facility/Unit:         ,                                                          -Housing ,
                                                                                            unit: - 20.7               Date:   -- 2& .. - N

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                      Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 56 of 71

                                        Inmate Request Form                                               ON 9601
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                                  Connecticut Department of Correction                           REV 1/31/09


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           Case 3:20-cv-00311-MPS Document 1 Filed 03/06/20 Page 60 of 71
 Garner Correctional Institution                                                        August 9, 2019
 Refusal of Treatment                                                                           Page 1

JAMES GRIFFIN INMATE ID #: 00245391 39 Years Old
DOB: 12/18/1979 Race: Black or African American Gender: Male
LOC: 136 A 207 Med Score: 3 Sub Score: OL... MN Score: 2 Sub Score:....

08/09/2019 - Refusal of Treatment: Refusal of Treatment
Provider: Cynthia L. Nadeau RN
Location of Care: Garner Correctional Institution

Encounter Context
Facility at time of evaluation: Garner Correctional Institution
Age at Time: 39 Years Old


Refusal of Treatment

Refused Other:Other
   Specific Treatment; Service or Mediction: CPAP machine
Reason: Other
Additional Comments: I/M refuses to bring machine back to unit because there is no filter which this
writer will order.

Patient Signature
                                   gnature                              Date




Medical StaffSignature:                                                         Aucc          cm/ ci
                                 Signature                              Date




Medical Staff Signature:
                                 Signature                              Date



Electronically signed by Cynthia L. Nadeau RN on 08/09/2019 at 1:54 PM
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